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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


DONALD J. TRUMP FOR
PRESIDENT, INC.; LAWRENCE               Civil Action
ROBERTS; and DAVID JOHN
HENRY;
                                        No.: 4:20-cv-02078-MWB
                Plaintiffs,

      v.

KATHY BOOCKVAR, in her capacity
as Secretary of the Commonwealth of
Pennsylvania; ALLEGHENY
COUNTY BOARD OF ELECTIONS;
CENTRE COUNTY BOARD OF
ELECTIONS; CHESTER COUNTY
BOARD OF ELECTIONS;
DELAWARE COUNTY BOARD OF
ELECTIONS; MONTGOMERY
COUNTY BOARD OF ELECTIONS;
NORTHAMPTON COUNTY BOARD
OF ELECTIONS; and
PHILADELPHIA COUNTY BOARD
OF ELECTIONS;

                Defendants.



   MEMORANDUM IN SUPPORT OF MOTION TO INTERVENE BY
  NON-PARTIES NAACP—PENNSYLVANIA STATE CONFERENCE,
 BLACK POLITICAL EMPOWERMENT PROJECT, COMMON CAUSE
PENNSYLVANIA, LEAGUE OF WOMEN VOTERS OF PENNSYLVANIA,
 JOHN AYENI, LUCIA GAJDA, STEPHANIE HIGGINS, MERIL LARA,
RICARDO MORALES, NATALIE PRICE, TIM STEVENS, AND TAYLOR
 STOVER FOR LEAVE TO FILE A RESPONSIVE PLEADING ON THE
              SAME SCHEDULE AS DEFENDANTS
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      The National Association for the Advancement of Colored People-

Pennsylvania State Conference (“NAACP-PSC”), Black Political Empowerment

Project (“B-PEP”), Common Cause Pennsylvania, and League of Women Voters of

Pennsylvania (“the League”) (together, the “organizational Applicants”), and Joseph

Ayeni, Lucia Gajda, Stephanie Higgins, Meril Lara, Ricardo Morales, Natalie Price,

Tim Stevens, and Taylor Stover (together, the “individual Applicants”) (collectively,

“Applicants”), submit this memorandum in support of their Motion to Intervene as

Defendants as a matter of right pursuant to Rule 24(a) of the Federal Rules of Civil

Procedure or, in the alternative, by permissive intervention pursuant to Rule 24(b).

I.    INTRODUCTION
      Plaintiffs have launched an all-out attack on voting by mail-in and absentee

ballot. They have done so, unapologetically, in the midst of a global pandemic. The

relief Plaintiffs seek from this Court is unprecedented, unsupported and

unsupportable: They want to stop Pennsylvania from certifying the results of the

2020 General Election. If that fails, they seek (1) to prevent all mail-in and absentee

ballots cast in up to seven counties, including Pennsylvania’s two largest counties

from being counted – a request for relief that, if granted, would result in over 2.6

million voters having their lawfully cast ballots discarded; and (2) to prevent ballots

cast by qualified electors in the seven named counties from being counted if a voter

was afforded an opportunity to cure a mail-in ballot. This flagrant attempt to

disenfranchise hundreds of thousands of Pennsylvania voters must be rejected.

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      Applicants are critical participants in these actions – as of now, they would be

the only party in the case representing the interests of individual voters – and are

well-situated to defend the right of all Pennsylvania voters to cast their ballots safely

during this global pandemic. The individual Applicants are voters whose ballots

will be thrown out if Plaintiffs obtain the relief they seek. The organizational

Applicants are nonpartisan organizations representing the interests of their nearly

50,000 Pennsylvania members – many of whose votes would also be thrown out –

and dedicated to eliminating barriers to voting and increasing civic engagement

among their members and in traditionally disenfranchised communities.

      Applicants are entitled to intervene as a matter of right under Federal Rule of

Civil Procedure 24(a)(2) because (1) Applicants filed this motion without delay;

Applicants have legally protectable interests in ensuring their lawfully cast ballots

are counted; (3) the relief Plaintiffs seek would harm Applicants’ interests; and (4)

Applicants’ interests go beyond those of the named Defendants, who have only a

generalized public interest in applying Pennsylvania’s election code.

      Alternatively, Applicants should be permitted to intervene under Rule 24(b).

Because Applicants seek leave to directly challenge Plaintiffs’ attempt to discount

otherwise valid ballots, their claims and defenses necessarily share common

questions of law and fact with the main action, and Applicants’ motion would neither

delay nor prejudice the orderly adjudication of Plaintiffs’ claims.



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II.    FACTUAL BACKGROUND

       A.      Plaintiffs Seek to Undo Pennsylvania’s Efforts To Ensure That
               Mail-in Ballots Are Counted.
       Plaintiffs seek an emergency order, declaration, or injunction prohibiting

Defendants from certifying the results of the 2020 General Election. Comp. ¶ 15

and p. 84 (Request for Relief). In the alternative, they seek an emergency order,

declaration, or injunction prohibiting Defendants from certifying any results from

the General Election that included the tabulation of absentee and mail-in ballots “for

which Plaintiffs’ watchers were prevented from observing during the pre-canvass

and canvass in the County Election Boards.” Id. “In addition to the alternative

requests for relief,” Plaintiffs also seek an emergency order, declaration, or

injunction prohibiting Defendants from certifying any results from the General

Election that include the tabulation of absentee and mail-in ballots “which

Defendants improperly permitted to be cured.” Id. And although Plaintiffs do not

include it in their final request for relief (id. at p. 84), Plaintiffs also raise issue with

the tabulation of

       invalidly cast absentee and mail-in ballots which (i) lack a secrecy
       envelope, or contain on that envelope any text, mark, or symbol which
       reveals the elector’s identity, political affiliation, or candidate
       preference, (ii) do not include on the outside envelope a completed
       declaration that is dated and signed by the elector, or (iii) are delivered
       in-person by third parties for non-disabled voters.

Id. at ¶ 15.



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      Plaintiffs’ 243-paragraph Complaint makes a litany of allegations that

purportedly support these requests for relief. Plaintiffs are wrong on the facts and

the law, and Applicants seek to intervene in this action to protect the interests of

individual voters whose fundamental right to vote is under attack and to provide the

perspective of organizations whose mission is to facilitate full and fair participation

in the electoral process. Applicants have at least as much of an interest in the

outcome of this ligation as Defendants.          But as voters who stand to be

disenfranchised if Plaintiffs get their relief, the individual Applicants’ interest is

even greater. See Pennsylvania Psychiatric Society v. Green Spring Health Servs.,

Inc., 280 F.3d 278, 284 (3d Cir. 2002)

      B.     The Organizational Applicants Are Organizations That Promote
             the Interests of Voters.
      Applicants are nonpartisan organizations that represent nearly 50,000

Pennsylvania members, many of whom are now at risk of being unlawfully deprived

of their right to vote. Their organizations are dedicated to eliminating barriers to

voting and increasing civic engagement among their members and in traditionally

disenfranchised communities. Applicants expend substantial resources on voter

education and turnout efforts. For this election, Applicants’ efforts have included

providing accurate information to voters on how to cast mail-in and absentee ballots

to ensure that voters have a full and fair opportunity to participate in spite of the

unprecedented circumstance of the election taking place during a global pandemic.


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      The NAACP-Pennsylvania State Conference is a non-profit advocacy

group for civil rights for Black Americans. Every election cycle, the NAACP-PSC

engages in voter registration, education, and turnout efforts. Declaration of Kenneth

L. Huston ¶¶ 6–8. The NAACP-PSC has been working to ensure that Black voters

in Pennsylvania are educated on different voting methods, including mail-in and

absentee voting, during the COVID-19 pandemic, and has conducted phone-banking

to assist Pennsylvania voters, including those whose absentee ballots were rejected.

Id. ¶¶ 9-10, 12. NAACP-PSC also has members, such as Philadelphia resident Mary

Grice, who cured their rejected absentee ballot and are at risk of disenfranchisement

if the Plaintiffs prevail in this case. Id. ¶¶ 13-14. It focuses on strategies, including

litigation, to eliminate Black voter suppression in Pennsylvania. Id. ¶ 8; see also

Applewhite v. Commonwealth, 2014 WL 184988 (Pa. Commw. Ct. Jan. 17, 2014).

      The Black Political Empowerment Project (B-PEP) is a non-profit, non-

partisan organization that has worked since 1986 to ensure that the Black community

in Pittsburgh votes in every election. During every election cycle, B-PEP’s work

includes voter registration drives, get-out-the-vote activities, education outreach

about the voting process, and election-protection work. B-PEP focuses these

activities in predominantly Black American neighborhoods in Allegheny County,

with some efforts in Westmoreland and Washington Counties. In preparation for

the November 3 election, B-PEP’s work has included educating voters about recent

changes to Pennsylvania election procedures and informing its members and
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members of the public about the signature requirement for the declarations

accompanying mail-in ballots. See Declaration of Tim Stevens

      Common Cause Pennsylvania is a non-profit political advocacy

organization and a chapter of the national Common Cause organization. With

approximately 36,000 members and supporters in Pennsylvania, Common Cause

Pennsylvania works to encourage civic engagement and public participation in

democracy, to ensure that public officials and public institutions are accountable to

and reflective of all people, and to implement structural changes through the

American democratic process. Common Cause Pennsylvania is non-partisan and

uses grassroots mobilization, community education, coalition building, legislative

advocacy, and litigation to build a democracy that is inclusive of all voters.

Common Cause Pennsylvania works to ensure that voters in communities that vote

at the lowest rates and use vote-by-mail at the lowest rates—which are also the

communities that may be most unfamiliar with the technical instructions mail-in

voting—can have their vote counted. See Declaration of Suzanne Almeida.

      The League of Women Voters of Pennsylvania is a nonpartisan, statewide

non-profit formed in August 1920, shortly after the Nineteenth Amendment granted

women suffrage in November 1918. The League and its 2,273 members are

dedicated to helping the people of Pennsylvania exercise their right to vote, as

protected by the law. As part of its mission to educate and empower voters, the

League promotes political responsibility and encourages the informed and active
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participation in government and public policy issues. Through its education and

advocacy efforts, the League works in the areas of voter registration, election

protection, voter education, get-out-the vote efforts, and grassroots mobilization

around voting rights. It works to ensure that voters are not disenfranchised by

removing unnecessary barriers to full participation in the electoral process. The

League has pursued legal action against Pennsylvania officials to achieve these

goals. See Declaration of Terrie E. Griffin.

      C.     The Individual Applicants Are Voters With Particularized
             Interests.
      Joseph Ayeni is a seventy-seven year old African American voter whose

ballot was rejected for failure to include a secrecy envelope. Declaration of Joseph

Ayeni ¶¶ 3-6, 12. He was called on Election Day by election officials about this

problem and cast a provisional ballot that day. Id. at ¶¶ 8-9.

      Lucia Gajda is forty year old Northampton County voter who has underlying

medical conditions, including an autoimmune disorder. Declaration of Lucia Gadja

¶¶ 3-6. She submitted her absentee ballot for the November 2020 election via an

official dropbox, in order to avoid exposure to COVID-19, on or about October 10,

2020. Id. at ¶¶ 6-7. She recently checked the status of her ballot on the Pennsylvania

ballot tracker website and it is marked as "vote recorded." Id. at ¶ 7. Ms. Gadja was

exceedingly proud to cast her vote and would lose faith in our democracy if her vote




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were not counted and she is robbed of her ability to express her views and hold

elected officials accountable through no fault of her own. Id. at ¶ 9.

       Stephanie Higgins is a Philadelphia County voter who voted by mail. Ms.

Higgins is in the third trimester of a high-risk pregnancy, and she did not want to

risk COVID exposure. She used a drop box and her vote was received and recorded

on October 23, 2020.

       Meril Lara is a twenty-six year old Hispanic Philadelphia County voter who

voted provisionally after receiving an email notification from election officials that

her ballot was rejected for failure to include a secrecy envelope. Declaration of Meril

Lara ¶¶ 3-9.

       Ricardo Morales is a forty-eight year old Hispanic Philadelphia County voter

whose mail-in ballot was cancelled or rejected, likely due to a signature error.

Declaration of Ricardo Morales ¶¶ 3-7. His full, Hispanic name has 4 names but he

signed using the anglicized version, which has only two names. Id. at 7. SEIU

texted him to let him know his ballot had been rejected on Election Day (he is a

member of the American Federation of Musicians), so he voted provisionally. Id. at

8-9.

       Natalie Price is a seventy-three year old Montgomery County voter who

votes in every election and who voted by mail-in ballot in order to avoid exposure

to COVID-19, which she is at high risk for due to her age. Declaration of Natalie

Price ¶¶ 3-6. Ms. Price received her mail-in ballot several weeks ago and returned
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it right away, even making sure that a postal worker time-stamped it. Id. at ¶ 7. On

November 1st and 2nd, Ms. Price received three calls from the Democratic Party

informing her that her ballot had been rejected (though they weren't sure why). Id.

at ¶ 8. The first site Ms. Price visited in Norristown to attempt to cure her ballot was

drop-off only; she went to a second site where she learned that her ballot had been

marked as defective because she did not hand-write her name and address on the

ballot. Id. at ¶ 10. Ms. Price was not aware that she needed to hand-write her name

and address in non-cursive print because that information was preprinted on the

envelope and it seemed redundant to write it again. Id. at ¶ 11. Her ballot was

signed, dated, and otherwise complied with all other ballot instructions. Id. at ¶ 12.

Ms. Price would be devastated if her vote were thrown out, especially after she drove

to a different town in the pouring rain to cure her ballot. Id. at ¶ 15.

      Tim Stevens is a 75-year-old Black man and lifelong resident (minus 9

months in DC many years ago) of Allegheny County. He is the Chairman, Founder

and CEO of Black Political Empowerment Project, B-PEP for short. As a long time

civil rights leader in Pittsburgh, voting is very important to Mr. Stevens. He cannot

recall the last time he missed an election. This year, concerns about contracting

COVID-19 prompted him to vote by mail. Besides his age, which puts him at

elevated risk of serious illness and death if he contracts the coronavirus, Mr. Stevens

has seen reporting about how the disease disproportionately impacts Black people

and people of color. For these reasons, he did not feel safe voting as he usually does
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at a polling place. Mr. Stevens drove his mail ballot to drop it off at the East Liberty

post office several weeks before election day. He confirmed online that his ballot

was accepted. Mr. Stevens does not want his vote nullified.

       Taylor Stover is a twenty-six year old African American Philadelphia County

voter whose ballot was rejected due to a problem with her signature. Declaration of

Taylor Stover ¶¶ 3-8. She voted provisionally on Election Day because she says

“[t]his is the most consequential election that I have experienced and I want my

ballot to count.” Id. at ¶¶ 9-10.

III.   APPLICANTS ARE ENTITLED TO INTERVENE AS A MATTER OF
       RIGHT.
       Applicants satisfy the criteria to intervene as of right under Federal Rule of

Civil Procedure 24(a). Applicants have a right to intervene upon establishing: “(1)

a timely application for leave to intervene, (2) a sufficient interest in the underlying

litigation, (3) a threat that the interest will be impaired or affected by the disposition

of the underlying action, and (4) that the existing parties to the action do not

adequately represent [their] interests.” Liberty Mut. Ins. Co. v. Treesdale, Inc., 419

F.3d 216, 220 (3d Cir. 2005). Courts construe these factors to “favor[] intervention

over subsequent collateral attacks.” Kleissler v. U.S. Forest Serv., 157 F.3d 964,

970 (3d Cir. 1998).       When these requirements are satisfied, intervention is

mandatory. Id. at 974; see also Commonwealth of Pa. v. President of United States

of Am., 888 F.3d 52, 60 (3d Cir. 2018). The Applicants have satisfied these


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requirements.

      A.     The Motion to Intervene Is Timely.
      This motion, which is being filed the day after Plaintiffs initiated this action,

is undoubtedly timely. See Wallach v. Eaton Corp., 837 F.3d 356, 371 (3d Cir.

2016). Applicants’ prompt intervention does not delay the advancement of this

action or otherwise harm the parties. See Cmty. Vocational Schs. of Pittsburgh, Inc.

v. Mildon Bus Lines, Inc., 2017 WL 1376298, at *5 (W.D. Pa. Apr. 17, 2017); see

also Mountain Top Condominium Ass’n, 72 F.3d at 370. Applicants’ next-day

motion to intervene is timely for purposes of Rule 24.

      B.     Applicants Have Sufficient Interests in This Litigation.
      Applicants have a “sufficient” – i.e., a “significantly protectable” – interest in

the litigation. Donaldson v. United States, 400 U.S. 517, 531 (1971). Under Rule

24(a)(2), a protectable interest is a “cognizable legal interest” distinguished from “an

interest of a general and indefinite character.” Pennsylvania v. President of United

States of Am., 888 F.3d at 58. It is “recognize[d] as belonging to or being owned by

the [proposed intervenor].” United States v. Alcan Aluminum, Inc., 25 F.3d 1174,

1185 (3d Cir. 1994).

      The interest of the individual Applicants and organizational members is

simple: Voters who cast mail-in or absentee ballots in the 2020 election, or who

voted by provisional ballot or in person after receiving notice of a mail-in ballot

error, have a significantly protectable interest in ensuring their ballots are counted.

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See League of United Latin Am. Citizens, Dist. 19 v. City of Boerne, 659 F.3d 421

(5th Cir. 2011) (finding a legally protectable interest where the intervenor sought to

protect his right to vote); see also Pierce v. Allegheny Cty. Bd. of Elections, 324 F.

Supp. 2d 684, 694–95 (W.D. Pa. 2003) (“The right of qualified electors to vote . . .

is recognized as a fundamental right, . . . extend[ing] to all phases of the voting

process, [and applying] equally to the initial allocation of the franchise as well as the

manner of its exercise.”).

      Likewise, the organizational Applicants have an interest in protecting one of

the core missions of their organizations – ensuring that their members, and all

Pennsylvanians, are given a full and equal opportunity to exercise their fundamental

right to vote – which they have dedicated considerable effort to advancing. See

Pennsylvania v. President of United States of Am., 888 F.3d at 58 (permitting a

religious group to intervene based on its interest in preserving the religious

exemption achieved through prior litigation efforts, where the religious organization

was described as an “impetus for change”).

      Each of the organizational Applicants is committed to eliminating barriers to

voting and increasing civic engagement, especially in communities that have been

traditionally disenfranchised. In pursuit of that mission, each organization engages

in robust voter registration, voter education, and get-out-the-vote activities,

expending considerable resources towards ensuring that eligible voters in

Pennsylvania can exercise their right to vote. Discarding ballots that have been
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lawfully cast would undermine these organizations’ voter-advocacy efforts by

leading some voters to believe that voting is pointless because their ballots will not

be counted, making it more expensive for the organizational Applicants to carry out

their missions in the future.      The threat of frustration of these core voter

enfranchisement missions gives the organizational Applicants a significantly

protectable interest in this litigation. See, e.g., Common Cause Ind. v. Lawson, 937

F.3d 944, 950 (7th Cir. 2019) (“[A] voting law can injure an organization enough to

give it standing by compelling [it] to devote resources to combatting the effects of

that law that are harmful to the organization’s mission.”).

      The organizational Applicants also have an interest in ensuring that legally

cast ballots are not discarded because it would force Applicants to divert resources

from other organizational priorities to educate members and other voters of their

rights and the severe restrictions on voting that Plaintiffs seek to impose. See, e.g.,

OCA-Greater Houston v. Texas, 867 F.3d 604, 610-12 (5th Cir. 2017) (finding

standing where an organization was required to dedicate additional resources to

assisting voters navigate the polls); Fla. State Conf. of N.A.A.C.P. v. Browning, 522

F.3d 1153, 1164-65 (11th Cir. 2008); Crawford v. Marion Cnty. Election Bd., 472

F.3d 949, 951 (7th Cir. 2007), aff’d, 553 U.S. 181 (2008); Issa v. Newsom, No. 2:20-

cv-01044, 2020 WL 3074351, at *3 (E.D. Cal. June 10, 2020). If Plaintiffs were to

obtain the relief they seek, the organizational Applicants would be forced to commit

resources immediately to respond to questions from members and voters about the
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status of their lawfully cast ballots in this election. In addition, the diversion of the

organizational Applicants’ resources would continue into future years, as they would

need to dedicate larger portions of their staff and monetary resources toward

ensuring that members’ votes are not rejected. These efforts will come at the

expense of other organizational priorities.

      Finally, courts routinely find that public interest organizations, like the

organizational Applicants, should be granted intervention in voting and other

election-related cases, demonstrating the significantly protectable interests such

organizations have in the electoral process. See, e.g., Texas v. United States, 798 F.

3d 1108, 1111 (D. C. Cir. 2015); Pub. Interest Legal Found., Inc. v. Winfrey, No.

19-13638, 2020 WL 2781826, at *2 (E. D. Mich. May 28, 2020); Kobach v U. S.

Election Assistance Comm’n, No. 13-cv-04095, 2013 WL 6511874 (D. Kan. Dec.

12, 2013); LaRoque v. Holder, No. 1:10-cv-00561 (D. D. C. Aug. 25, 2010). This

case is no exception.

      C.     Disposition of this Case May Impair Applicants’ Interests.
      Applicants also satisfy the third prong of the intervention analysis because the

“disposition” of this action “‘may’ impair or impede their ability to protect their

interests.” Applicants need not show that their interests “will” be impaired by

disposition of the ligation; only that they “may” be. See Brumfield v. Dodd, 749

F.3d 339, 344 (5th Cir. 2014). Indeed, the “very purpose of intervention is to allow

interested parties to air their views so that a court may consider them before making

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potentially adverse decisions.” Id. at 345; see also Brody By & Through Sugzdinis

v. Spang, 957 F.2d 1108, 1122 (3d Cir. 1992).

      The individual Applicants, the organizational Applicants’ members, and

many other Pennsylvania voters are in jeopardy of being stripped of their

fundamental right to vote. Applicants’ rights thus undoubtedly stand to “be affected

by a proposed remedy in this case.” See Seneca Res. Corp. v. Twp. of Highland, Elk

Cty., 863 F.3d 245, 257 (3d Cir. 2017). The individual Applicants could have their

lawfully cast ballots tossed out. The organizational Applicants are at risk of losing

their ability to protect their interests and those of their members in voter

participation.   These concerns of voter disenfranchisement are amplified with

respect to the underrepresented minority communities that the organizational

Applicants serve. “Historically . . . throughout the country, voter registration and

election practices have interfered with the ability of minority, low-income, and other

traditionally disenfranchised communities to participate in democracy.” Ind. State

Conf. of NAACP v. Lawson, 326 F. Supp. 3d 646, 650 (S.D. Ind. 2018), aff’d, 937

F.3d 944 (7th Cir. 2019). The organizational Applicants have worked to remedy

those practices, in part, by ensuring that their registration, education, and get-out-

the-vote efforts reach vulnerable or underserved minority communities. Thus, the

organizational Applicants have significant interests in ensuring that Plaintiffs’

proposed relief does not harm those communities.



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      D.     The Interests of Existing Defendants May Diverge from Those of
             Applicants.
      Applicants also meet the “minimal” burden of demonstrating that the existing

parties in the litigation may not protect their interests. Trbovich v. United Mine

Workers of Am., 404 U.S. 528, 538 n.10 (1972); Hoots v. Pennsylvania, 672 F.2d

1133, 1135 (3d Cir. 1982). “The possibility that the interests of the applicant and

the parties may diverge need not be great,” Am. Farm Bureau Fed’n v. Envtl. Prot.

Agency, 278 F.R.D. 98, 110 (M.D. Pa. 2011), and a proposed intervenor need only

show that “although [its] interests are similar to those of a party, they diverge

sufficiently that the existing party cannot devote [them] proper attention,” United

States v. Territory of V.I., 748 F.3d 514, 519–20 (3d Cir. 2014).

      Here, the interests of the organizational and individual Applicants are distinct

and may diverge from those of the governmental Defendants. See Am. Farm Bureau

Fed’n, 278 F.R.D. at 110-11 (public interest groups allowed to intervene in litigation

in which EPA was a defendant, “[b]ecause the EPA represents the broad public

interest . . . not only the interests of the public interest groups” and similar

stakeholders). While the Defendants may have a generalized interest in upholding

the law, they do not have a direct interest in protecting the validity of their own votes,

as the individual Applicants and the organizational Applicants’ members do, or in

ensuring the broad voter access that is fundamental to the mission of the

organizational Applicants. See Kobach v. U.S. Election Assistance Comm’n, No.


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13-cv-4095- EFM-DJW, 2013 WL 6511874, at *4 (D. Kan. Dec. 12, 2013)

(applicants who had shown their interests in protecting voter rights, particularly in

minority and underprivileged communities, may have private interests that diverge

from the public interest of the defendant Election Assistance Commission); see also,

e.g., Meek v. Metro. Dade County, 985 F.2d 1471, 1478 (11th Cir. 1993), (“The

intervenors sought to advance their own interests in achieving the greatest possible

participation in the political process. Dade County, on the other hand, was required

to balance a range of interests likely to diverge from those of the intervenors.”),

abrogated on other grounds by Dillard v. Chilton Cty. Comm’n, 495 F.3d 1324 (11th

Cir. 2007).

      Moreover, there are a number of issues, positions, and claims that a

governmental entity may not be willing to raise that are critical to public interest

organizations like the organizational Applicants.      Unlike Defendants, who are

broadly responsible for the management of elections, the interests of Applicants are

personal to these individuals and the organizations’ members. Their right to vote –

indeed, their right to have the votes they have already cast counted – is at risk. As

the Third Circuit has recognized: “[W]hen an agency’s views are necessarily colored

by its view of the public welfare rather than the more parochial views of a proposed

intervenor whose interest is personal to it, the burden [of establishing inadequacy of

representation] is comparatively light.” Kleissler, 157 F.3d at 972.



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IV.   IN THE ALTERNATIVE, THE                      COURT       SHOULD        GRANT
      PERMISSIVE INTERVENTION.
      Even if the Court determines that Applicants are not entitled to intervene as a

matter of right, the Court should exercise its broad discretion to grant permissive

intervention. See Donald J. Trump for President v. Boockvar, No. 2:20-cv-00966-

NR (W.D. Pa. Aug. 3, 2020), ECF No. 309; Hoots, 672 F.2d at 1136. A court may

grant permissive intervention when the motion to intervene is timely and “has a

claim or defense that shares with the main action a common question of law or fact.”

Fed. R. Civ. P. 24(b). The decision whether or not to do so is “highly discretionary.”

Brody, 957 F.2d at 1115.

      Applicants easily satisfy the threshold requirements for permissive

intervention here. Their motion is timely, and they seek to assert defenses that

squarely address the factual and legal premise of Plaintiffs’ claims, including but not

limited to whether: (1) alleged noncompliance with Pennsylvania law regarding

election observers requires throwing out hundreds of thousands of ballots that were

lawfully cast; (2) a ballot that has a defect that is cured by the voter on or before

Election Day must be thrown out.

      Permissive intervention is especially appropriate where, as here, Applicants

may meaningfully contribute to the proper development of the factual or legal issues

in dispute. See Nat’l Wildlife Fed’n v. Ruckelshaus, 99 F.R.D. 558, 561 (D.N.J.




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1983). Applicants expect to present a perspective on key legal and factual issues

that are different from the Defendants and the other parties in this case.

      In particular, the individual Applicants and organizational Applicants’

members are themselves the individual voters whose ballots Plaintiffs seek to

discard. Furthermore, the organizational Applicants will be able to present a unique

perspective based on their deep experience educating, registering, and assisting

voters in Pennsylvania counties and constituent communities.               Organizational

Applicants, their affiliates in sister-states, and their counsel have litigated numerous

voting rights cases and have experience analyzing claims such as those asserted here

and the methodology behind them. See, e.g., Va. Voter’s All., Inc. v. Leider, No. 16-

cv-394 (E.D. Va. June 17, 2016), ECF No. 25 (granting League of Women Voters

of Virginia’s motion to intervene in suit seeking to compel maintenance of voter

registration list). Applicants will draw on this national experience and their history

representing populations most likely to be impacted by the relief Plaintiff seeks in

framing their defense of this litigation. The organizational Applicants also represent

thousands of Pennsylvania voters who, along with individual Applicants, would be

burdened if Plaintiffs are successful in this litigation.

      Granting Applicants’ Motion at this early stage of the case would not delay or

prejudice the adjudication of the original parties’ rights. See Fed. R. Civ. P. 24(b).

By contrast, refusing to permit intervention would deprive Applicants of the chance

to defend their significant and protectable interests in the litigation.
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V.    THE COURT SHOULD GRANT APPLICANTS LEAVE TO FILE A
      RESPONSIVE PLEADING ON THE SAME SCHEDULE AS
      DEFENDANTS.
      Applicants further move for leave to file a responsive pleading on the same

date that the current Defendants file a pleading in response to the Complaint. This

Court has discretion to grant this motion without the inclusion of a pleading where

no prejudice will result to the other parties. See, e.g., Amalgamated Transit Union,

Local 1729 v. First Grp. Am. Inc., No. 2:15-CV-806, 2016 WL 520989, at *1 (W.D.

Pa. Feb. 10, 2016); U.S. ex rel. Frank M. Sheesley Co. v. St. Paul Fire & Marine Ins.

Co., 239 F.R.D. 404, 411 (W.D. Pa. 2006). This motion is being filed at the very

initial stages of the litigation and granting this motion will not delay or prejudice any

party, as Defendants have filed no responsive pleading and this Memorandum

provides sufficient notice of the basis for intervention and defenses Applicants will

assert. For these reasons, the Applicants request leave to file a responsive pleading

on the same schedule as Defendants.

VI.   CONCLUSION
      For the reasons stated above, the Court should grant the Applicants’ Motion

to Intervene as of right, or in the alternative, for permissive intervention, and to file

a responsive pleading on the same schedule as defendants.



Dated: November 10, 2020                              Respectfully submitted,

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                   CERTIFICATE OF WORD COUNT

     I HEREBY CERTIFY on this 10th day of November that the above

memorandum contains fewer than 5000 words (4864).

                                              /s/    Witold J. Walczak
                                              Witold J. Walczak




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                         CERTIFICATE OF SERVICE


      I hereby certify that on this date, the foregoing memorandum of law in support

of motion to intervene was filed electronically and served on Plaintiffs’ counsel of

record via the ECF system of the U.S. District Court for the Middle District of

Pennsylvania; and via e-mail on counsel for defendants.



Dated: November 10, 2020

                                                   /s/    Witold J. Walczak
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